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                                           IN THE UNITED STATES DISTRICT COURT
                                                FOR THE DISTRICT OF KANSAS

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                (Enter above the full name of the Plaintiff(s)              )

                vs.                                                         ~     Case Number   t <(, ;},.jl{ Cf -J~ -               tf0
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                Name
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                Street and number                                           )
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                City                     State                    ZipCode )
. ...   .:.·~
                (Enter above the full name and address of the
        .} '
                Defendant in this action - list the name and
                address of any additional defendants on the back
                side of this sheet).
        .. .
                                                      CIVIL COMPLAINT

                I.      Parties to this civil action:

                        (In item A below, place your name in the first blank and place your present address in the
                        second blank. Do the same for additional plaintiffs, if any, on the back side of this sheet).

                        A.      Name of plaintiff       fi__.1.ge n.\C1         Hot io+<0r1
                                Address cy] d.D           lJ,,X:b~ C O..c.X.
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      (In item B below, write the full name of the defendant in the first blank. In the second
      blank, write the official position of the defendant. Use item C for the names and positions
      of any additional defendants).




IL   Jurisdiction:

     (Complete one or more ofthe following subparagraphs, A., B.1, B.2., or B.3., whichever is
     applicable.)

     A. (If Applicable) Diversity of citizenship and amount:
             1.      Plaintiff is a citizen of the State of    V)Q.rvt,1~;,
             2.      The first-named defendant above is either
                             a. a citizen of the State of
                                                              - - - - - - - - -; or
                             b. a corporation incorporated under the laws of the State of
                                  - - - - - - - - and having its principal place of business
                                  in a State other than the State of which plaintiff is a citizen.


             3. The second-named defendant above is either
                             a.      a citizen of the State of fut~~·')O                ; or
                             b.      a corporation incorporated under the laws of the State of
                             _ _ _ _ _ _ and having its principal place of business in a
                             State other than the State of which plaintiff is a citizen.


             (If there are more than two defendants, set forth the foregoing information for each
             addit ional defendant on a separate page and attach it to this complaint.)
             Plaintiff states that the matter in controversy exceeds, exclusive of interest and
             costs, the sum of seventy-five thousand dollars ($75,000.00).


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            B.     (If applicable) Jurisdiction founded on grounds other than diversity
            (Check any of the following which apply to this case).


            ili.                This case arises under the following section of the Constitution of
                                the United States or statute of the United States (28 U.S.C. §1331):
                                Constitution, Article_ _ , Section_ _;
                                Statute, US Code, Title_ _, Section_ _

            Jtl-2.              This case arises because of violation of the civil or equal rights,
                                privileges, or immunities accorded to citizens of, or persons within
                                the jurisdiction of, the United States (28 U.S.C. §1343).

            il3.                Other grounds (specify and state any statute which gives rise to such
                                grounds):




 III.       Statement of Claim:

(State here a short and plain statement of the claim showing that plaintiff is entitled to
relief. State what each defendant did that violated the right(s) of the plaintiff, including
dates and places of such conduct by the defendant(s). Do not set forth legal arguments.
If you intend to allege more than one claim, number and set forth each claim in a separate
paragraph. Attach an additional sheet, if necessary, to set forth a short and plain statement
of the claim[s].)




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IV.        Relief:

(State briefly exactly what judgement or relief you want from the Court. Do not make
legal arguments.)
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          aas or::D


 V.     Do you claim the wrongs alleged in your complaint are continuing to occur at the
 present time? Yes I :I No~

 VI.       Do you claim actual damages for the acts alleged in your complaint?
           Yes l_ J    Nol2J

 VII.      Do you claim punitive monetary damages? Yes~                                            No D


If you answered yes, state the amounts claimed and the reasons you claim you are entitled
to recover money damages.



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       VIII.   Administrative Procedures:

               A.     Have the claims which you make in this civil action been presented through
               any type of Administrative Procedure within any government agency?
               YesD Nor;zJ

               B.        If you answered yes, give the date your claims were presented,
               how they were presented, and the result of that procedure:




               C.      If you answered no, give the reasons, if any, why the claims made in this
               action have not been presented through Administrative Procedures:



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               up    ifl    cov.r~   ,
IX.   Related Litigation:

      Please mark the statement that pertains to this case:

        D                This cause, or a substantially equivalent complaint, was previously filed in
                         this court as case number                    and assigned to the Honorable
                         Judge ~~~~~~~~~~~~

                         Neither this cause, nor a substantially equivalent complaint, previously has
                         been filed in this court, and therefore this case may be opened as an original
                         proceeding.


                                                        Signature of Plaintiff


                                                        Name      cP mt or Type)
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                                                        Address ·'




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                                                    City          Sta e       Zip Code


                                                   Telephone Number


                           DESIGNATION OF PLACE OF TRIAL

Plaintiff designates .L0     Wichita, fX{Kansas City, or 0   Topeka} , Kansas as the
                                           (Select One)
location for the trial in this matter.

                                                      c:::==---~
                                                   Signature of Plaintiff


                             REQUEST FOR TRIAL BY JURY

Plaintiff requests tri~l by jury { DYes or IXJNo }
                                    (Select One)


                                                   C-----£
                                                   Signature of Plaintiff

Dated: - - - -
 (Rev. 10/15)




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